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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION



   OMAR SANTOS and AMANDA CLEMENTS on                          Case No 1:19-cv-23084-KMW
   behalf of themselves and all others similarly
   situated,

                   Plaintiffs,

          vs.

   HEALTHCARE REVENUE RECOVERY
   GROUP, LLC d/b/a ARS ACCOUNT
   RESOLUTION SERVICES and EXPERIAN
   INFORMATION SOLUTIONS, INC.,

               Defendants.
   __________________________________/


       NOTICE OF STRIKING DE 82 BY DEFENDANT HEALTHCARE REVENUE
       RECOVERY GROUP, LLC d/b/a ARS ACCOUNT RESOLUTION SERVICES

         COMES NOW Defendant Healthcare Revenue Recovery Group, LLC d/b/a ARS Account

  Resolution Services (“ARS”) by and through its undersigned counsel, and files this Notice of

  Striking its Notice of Serving ARS’s Rebuttal Expert Report [DE 82], which was filed in error on

  March 5, 2021.

         Dated this 23rd day of March 2021.


                                                     Respectfully submitted,

                                                     /s/ Ernest H. Kohlmyer, III
                                                     Ernest H. Kohlmyer, III
                                                     Florida Bar Number 110108
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on March

  23, 2021 via the Court Clerk’s CM/ECF system which will provide notice to all parties’ counsel

  of record by operation of the Court’s electronic filing system as indicated on the Notice of

  Electronic Filing. Parties may also access this filing through the Court’s CM/ECF System.

                                      /s/ Ernest H. Kohlmyer, III
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                                      Group, LLC d/b/a ARS Account Resolution Services




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